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8
; UNITED STATES DISTRICT COURT
10 FOR THE CENTRAL DISTRICT OF CALIFORNIA
1 WESTERN DIVISION
12
COACHELLA MUSIC FESTIVAL, Civil Action No. 2:21-cv-0963 1-RGK-
13. |}LLC ET AL, GJS
14 Plaintiff, SUPPLEMENTAL DECLARATION
OF KEVIN VAHIDI CONCERNING
15 V. LIVE NATION’S NOTICE OF
COMPLIANCE
16 || LIVE NATION ENTERTAINMENT,
7 INC. ET AL,
Defendant.
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I, Kevin Vahidi, declare as follows:

1. I am Client Development Director, Venues & Promoters for
Ticketmaster. I am over the age of eighteen and am competent to testify. Unless
otherwise stated herein, I have personal knowledge of the facts stated in this
declaration, and if called upon to do so, I could and would testify competently
thereto.

2, Attached as Exhibit 1A is a true and correct copy of the declaration I
DocuSigned for filing in this matter on December 20, 2021. As noted in the prior
declaration, I was traveling on December 20 without access to a printer, and was
unable to print and hand-sign the declaration.

Se I hereby reiterate and incorporate by reference the contents of the
attached declaration into this Supplemental Declaration, which I have hand signed in

accordance with the Court’s rules.

I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

SS

Executed this 21st Day of December, 2021 at ILos ‘ale caf . } ‘

| |
KEVIN VAHIDI

 

 

SUPPL. DECL. OF KEVIN VAHIDI - 1 -

 
